~AO
                              Case 4:10-cr-00243-DPM Document 17 Filed 05/27/11 Page
      245C (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                      1 of 6
                                                                                 (NOTE: Identify Changes with Asterisks (*»
           Sheet I



                                              UNITED STATES DISTRICT COURT

                                                                              District of                           Eastern District of Arkansas

           UNITED STATES OF AMERICA                                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                 v.
                                                                                         Case Number: 4: 10-cr-243-01-DPM
                    Richard Ladale Gilliam
                                                                                         USM Number: 23717-009
Date of Original Judgment:       5/20/2011
                                              Latrece Gray
(Or Date of Last Amended Judgment)
                                                      Defendant's Attorney

Reason for Amendment:

D Correction of Sentence on Remand (18 U.S.C. 3742(£)(1) and (2»                         D Modification of Supervision Conditions (18 U.S.c. §§ 3563(c) or 3583(e»
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                         D Modification of Imposed Term of Imprisonment for Extraordinary and
    P.35(b»                                                                                   Compelling Reasons (18 U.S.c. § 3582(c)(1»
D   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»                   D Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
lit Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                         to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2»

                                                                                         D Direct Motion to District Court Pursuant D        28 U.S.c. § 2255 or
                                                                                           D 18 U.S.C. § 3559(c)(7)
                                                                                         D Modification of Restitution Order (18   u.sFft ED    4
                                                                                                                                    U.S. DISTRICT COURT
THE DEFENDANT:
                                                                                                               .• ASTERN DISTRICT ARKANSAS
~ pleaded guilty to count(s) _O_n_e
                                                                                                  1l1"l~"'ZI"",.,......",.,n_-----
D pleaded nolo contendere to count(s)                                                                                                 MAY .2 7 lUll
     which was accepted by the court.
                                                                                                                        JA~~ McCO~MACK, CLERK
D was found guilty on count(s) - - - - - - - - - - - - - - - - - - - - - - ' B....y"....:=~_;;aAli!\4&! .., .,.... raJ. 02~
    after a plea of not guilty.                                                                                                          1                  DEP CLERK

The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                                    Offense Ended
 18 U.S.C. §§ 922(g)(1)

 & 924(a)(2)                           Felon in possession of a firearm, a Class C Felony                                     2/3/2010                        One


       The defendant is sentenced as provided in pages 2 through                          6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D    The defendant has been found not guilty on count(s)
D    Count(s)                                                    D      is   D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.
                                                                                 5/20/2011
                                                                                Date of Imposition of Judgment



                                                                                         Signature of Judge
                                                                                         D.P. Marshall Jr.                                 U.S. District Judge
                                                                                         Name of Judge                                   Title of Judge
                                                                                                                    ;)..0/1
                                                                                         Date
     AO 245C
                            Case 4:10-cr-00243-DPM Document 17 Filed 05/27/11 Page 2 of 6
                  (Rev. 06/05) Amended Judgment in a Criminal Case

                  Sheet 2 - Imprisonment                                                                          (NOTE: Identify Changes with Asterisks (*))


                                                                                                               Judgment -   Page _2
                                                                                                                                  __ of                6
     DEFENDANT: Richard Ladale Gilliam

     CASE NUMBER: 4: 1O-cr-243-01-DPM


                                                                      IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of

            * THIRTY-SEVEN MONTHS




     rl/	 The court makes the following recommendations to the Bureau of Prisons:
   Mr. Gilliam should participate in residential substance abuse treatment, mental health counseling, and education and

   vocational programs during his incarceration. The Court recommends that the Defendant be housed at the Federal

   Correctional Institution in Texarkana, if possible.


,...	 r;t   The defendant is remanded to the custody of the United States Marshal.

     D	     The defendant shall surrender to the United States Marshal for this district:


            D     at                                       D     a.m   D     p.m.        on


            D     as notified by the United States Marshal.


     D	     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D     before 2 p.m. on

            D     as notified by the United States Marshal.

            D     as notified by the Probation or Pretrial Services Office.



                                                                           RETURN
     I have executed this judgment as follows:




            Defendant delivered on
       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

     at                                                          with a certified copy of this judgment.





                                                                                                            UNITED STATES MARSHAL


                                                                                    By                                                                      _
                                                                                                     DEPUTY UNITED STATES MARSHAL
                          Case 4:10-cr-00243-DPM Document 17 Filed 05/27/11 Page 3 of 6
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               Sheet 3 - Supervised Release                                                                 (NOTE: Identify Changes with Asterisks (*»


                                                                                                                          3_ of
                                                                                                          Judgment-Page _ _                     6
DEFENDANT: Richard Ladale Gilliam
CASE NUMBER: 4:10-cr-243-01-DPM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of

             TWO YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests

thereafter, as detennined by the court.

D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
~ The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
~	 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D	       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
D	       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments slieet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the pennission of the court or probation officer;

  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days

           of each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted pennission to do so by the proBation officer;
 10)       the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of
           any contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           pennission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record;. personal history, or characteristics and shall pennit the probation officer to make such notifications and confinn the
           defenaant's compliance with such notification requirement.
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           Sheet 3C - Supervised Release                                                  (NOTE: Identify Changes with Asterisks (*))


                                                                                                        4_ of
                                                                                        Judgment-Page _ _                     6
DEFENDANT: Richard Ladale Gilliam
CASE NUMBER: 4:10-cr-243-01-DPM

                                       SPECIAL CONDITIONS OF SUPERVISION

    The Defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program, which may include testing, outpatient counseling, and residential treatment. Further, the Defendant
shall abstain from the use of alcohol throughout the course of treatment.

   The Defendant shall participate in mental health counseling with medication monitoring under the guidance and
supervision of the U.S. Probation Office.

* (These special conditions were erroneously included on the "additional supervised release terms" page. The conditions
imposed remain the same.)
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                               (NOTE: Identify Changes with Asterisks (On

                                                                                                                          5 _,of
                                                                                                        Judgment - Page _ _                      6
DEFENDANT: Richard Ladale Gilliam
CASE NUMBER: 4:10-cr-243-01-DPM
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                            Fine                                  Restitution
TOTALS           $ 100.00                                             $ 0.00                                 $ 0.00


ClOThe determination of restitution is deferred until
   entered after such determination.
                                                     ------ . An Amended Judgment in a Criminal Case (AO 245C) will be

D	   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal vIctims must be paid
     before the United States is paid.

Name of Payee	                                                       Total Loss*              Restitution Ordered         Priority or Percentage




TOTALS                                                           $                              $

D     Restitution amount ordered pursuant to plea agreement $                                       _

D	    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.s.C. § 3612(t). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D	    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      D   the interest requirement is waived for        D     fine      D   restitution.

      D   the interest requirement for          D     fine      D      restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and l13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case

             Sheet 6 - Schedule of Payments                                                             (NOTE: Identify Changes with Asterisks (*))


                                                                                                     Judgment -   Page   _6..;;....._   of   6
DEFENDANT: Richard Ladale Gilliam
CASE NUMBER: 4: 10-cr-243-01-DPM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ~ Lump sum payment of$ _1o_0_._0_0                          due immediately, balance due

           D not later than                                          , or

           D in accordance with D C,               D D,          D   E,or    D F below; or

B    D	 Payment to begin immediately (may be combined with D C,                       D D, or   D F below); or
C    D     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                      over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D	    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ~	 Special instructions regarding the payment of criminal monetary penalties:

             No fine is imposed due to the Defendant's inability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary 2enalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and

     corresponding payee, if appropriate.





D    The defendant shall pay the cost of prosecution.


D    The defendant shall pay the following court cost(s):


D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
